IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

Rustin G. Jackson
v.
State of Tennessee

County of Campbell as a body politic,
Darryl Mongar, Dustin Rose,

Rick Woodward and Billy Marlow

In their Individual Capacities et al

Civil Action No. 3:04-cv-344

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AFFIDAVITE IN SUPPORT OF REQUEST FOR ENTRY OF DEFAULT FOR
DEFENDANT DUSTIN ROSE

I, Rustin Jackson, declare under penalty of perjury that the following facts are true
and correct to the best of my information and belief;

1. Iam the plaintiff in this action.

2. A2™ amended complaint was filed herein on Dustin Rose and service of
process was had on the defendant on January 12, 2005.

3. More than twenty (20) days have elapsed since the defendant in this action
served, and the defendant has failed to plead or otherwise defend as
provided by the Federal Rules of Civil Procedure.

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Plaintite /

Attached exhibits:

Process of receipt and return of summons by United States Marshal Service
Notice of Appearance of defendant

Complaint for Violations of Constitutional Rights (Second Amendment)
Order granting Complaint for Violations of Constitutional Rights (Second
Amendment)

Sworn to me and “C\..
me this y th day of Hakan >

CGS

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Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 1 of 10
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aes of Justice

TYPE OF PROCESS

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: ; Number of parties to be
~,, p Served, in, this. case.

number of procks§ inl Gated:
(Sign only first USM 285 if more!
than one USM 2835 is Submitted)

J I hereby certify and return that 1 am unable to locate the individual, company, corporation, etc.. named above (See remarks below) —

Name and title of individual served (if net shown above) CO : - A person of suitable age and dis-

{1 ceptions then yesiding in the defendant's
usual place of abode.

Address (complete oniy.if different.than shown above) Oo ~ | Date of Service | Time “am
1Z

Sefer pm
ipnat FL) re or Deputy

Service Fee | Total Mileage-Charges | Forwarding Fee || TotalCharges | Advance Deposits |

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
RUSTIN G. JACKSON )
)
Plaintiff, )
)
v. )
)— No. #38:04-cv-344
STATE OF TENNESSEE, ET AL. ) VARLAN/SHIRLEY
)
Defendants. )

NOTICE OF APPEARANCE

Defendants Campbell County, Tennessee, Darrell Mongar, Dustin Rose and Billy .
Marlow, in their individual, hereby appear and give notice that John C. Duffy, and Watson
& Hollow, P.L.C., P. O. Box 131, Knoxville, Tennessee 37901 (865) 637-1700, will be
representing them in the above captioned matter.,

Respectfully submitted this 14th day of January, 2005.

By: __s/John C. Duffy, BPR #010424-..

WATSON & HOLLOW, P.L.C.

P. O. Box 131 .

Knoxville, Tennessee 37901-0131
(865) 637-1700

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 3 of 10
PagelD #: <pagelD>
IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE

Rustin G. Jackson

v.

State of Tennessee

County of Campbell as a body politic,
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Rick Woodward and Billy Marlow

In their Individual Capacities et al

Civil Action No. 3:04-ev-344

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Complaint for Violations of Constitutional Rights (Second Amendment)

Here comes the Plaintiff, Rustin G. Jackson with an action against the Defendants: State of
Tennessee, City of Jacksboro, County of Campbell and their servants as follows: State Trooper Rick
Woodward of 157 Indian Creek Rd Jacksboro TN 37757, Darrell Mongar Campbell County
Sheriff's Office Kentucky Ave Jacksboro TN 37757, Dustin Rose Campbell County Sheriff's Office
Kentucky Ave Jacksboro TN 37757, Correctional Officer Billy Marlow Campbell County Sheriff's
Office Kentucky Ave Jacksboro 37757; pursuant 42 USC§1983 and TCA1§17.

Plaintiff Rustin Jackson, for his complaint, alleges as follows:

1. Plaintiff, Rustin Jackson, is a citizen of the United States of America, and as a citizen and
former soldier of said nation, files this complaint on the defendants for violations to his
guaranteed Constitutional and Civil Rights, Breaches of Contract in that these defendants acted
in bad faith, failures for the defendants to follow regulations and that during these violations,
officers forsook the plaintiff's safety and knowingly with intention caused injury to the plaintiff
causing the plaintiff great pain and suffering. This Civil Action for compensatory and punitive
damages brought by the plaintiff pursuant to 42.U.S.C.§1983 and the United States Constitution
Article 4 §2 Clause 1. Furthermore, Plaintiff requests this Court exercise its pendant
jurisdiction over his transactional State Claims.

Jurisdiction is founded upon 28 U.S.C. §1343.

Plaintiff, Rustin G. Jackson, currently residing at 108 Chapman Lane, Jacksboro TN 37757, was

peacefully walking within a mile of that residence on Landmark Road on 3/17/2004 (Pursuant

USC 1* Amendment).

4. Rustin Jackson on 3/17/2004 stopped when he saw Deputy Darrell Mongar and Auxiliary
Deputy Dustin Rose following him slowly at a distance of 15-20 ft in a county SUV and asked
them their purpose, the defendant Darrel Mongar and plaintiff did recognize each other.

5. That the defendant, Darrel Mongar asked him questions as to the plaintiff's residence, where
plaintiff was going repeatedly, even though the plaintiff answered the questions repeatedly. The
plaintiff noticed that Defendant Deputy Mongar was looking around during the questioning, the
plaintiff assumes to see if there were any witnesses present.

6. Darrell Mongar made references about “you still working?”, “well your not working for me”,
“who says you live around here?”, “What have you done recently?”, Then Deputy Mongar
looked over to Deputy Rose and said, “This is the guy who thinks he knows how to do my job.”
(complaint against Darrell Mongar made pursuant TCA1§2, TCA1§21)

7. The defendants then exited the car, frisked the plaintiff and searched his pockets, each holding
one of the plaintiff's arms giving the reason, “Just want to see what you got. See what you
take.”, despite the plaintiffs verbal protests that he did not consent and had nothing in his
pockets as he was jogging near his residence. (complaint made pursuant defendants Darrell
Mongar and Dustin Rose’s violation of USC 4" Amendment, TCA1§7, RST§18(1) )

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of 7

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 4of 10
PagelD #: <pagelD>
8. The defendants, Dustin Rose finding nothing said, “Oh, your resisting.” Which the plaintiff
denied. Dustin Rose then, without cause, did spray and intentionally harm the plaintiff,
rendering the plaintiff unconscious. Mongar shouting at the plaintiff, “You’re stupid!” Then at
Rose, “You’ve got to hit harder than that!” The defendant with forethought, with unnecessary
and extreme rigor, continued to assail the plaintiff before and after the plaintiff was in restraints,
without regard to his life until a witness, one Linda Chapman, made her presence known,
shouting for them to stop. (complaint made pursuant against defendants Darrell Mongar, Dustin
Rose who were in violation of TCA1§13, RST§479, RTT:GP§1)

9. State Trooper Rick Woodward arrived on the scene, whereupon the plaintiff asked the defendant
Rick Woodward for assistance, stating that he needed hospital. State Trooper denied the
plaintiff any assistance, despite the plaintiff§ in and out of consciousness and spasmodic
seizures resulting from head trauma. (complaint made against Rick Woodward, State of
Tennessee pursuant RST:GP§315(a) , TCA1§8)

10. The plaintiff was denied emergency medical assistance that he requested by the defendants
Darrell Mongar, Dustin Rose, and Rick Woodward, (complaint made pursuant RTT:GP§ 12)

11. The defendants acting in concert then continued to slam the defendant against their car, and
dropping him on the ground while his hands and feed tied and repeatedly spray him with what
they referred to as devastator. (complaint made against defendants Darrel] Mongar, Dustin Rose,
Rick Woodward pursuant RST§21(1), RST§322)

12. The defendants did attempt to coerce Linda Chapman into signing a statement of their choosing
implicating the plaintiff, to which she refused (complaint made against Campbell County
pursuant RST46§2).

13. The defendants did destroy or hide evidence in the form a statement which Linda Chapman did
write and sign, affirming the plaintiff's distress and actions herein describe of the defendants.
(complaint made against Campbell County pursuant USC 5" Amendment)

14. The plaintiff was then transported to Campbell County Jail facility, never being informed of his
rights, Miranda, nor was the plaintiff informed of the reason for the arrest. (complaint made
against Campbell County, Darrell Mongar, Dustin Rose pursuant TCAI§8, USC 14%
Amendment, USC 6" Amendment)

15. Once at the steps of the jail and within the jail itself, further intentional harm upon the plaintiff
(shoved up steps, causing the plaintiff to be slammed onto the floor with no means of checking
his fall while his sight was hindered, etc) and plaintiff would guess amounted to taunts or threats
(“We're going release the dog.” [They had brought in a barking canine.} “Your gonna fuck us
[officers] all.”, etc) upon his person were made by a large number of police figures. (complaint
made against Campbell County, City of Jacksboro, Dustin Rose, Darrell Mongar pursuant
RST§46, RST§21(2), USC 7" Amendment)

16, The defendants then did falsely imprison the plaintiff, waiting two days before filing the
complaint and two weeks before réleasing the plaintiff; during that time denying the plaintiff
medical aid despite head injury and repeated requests of the plaintiff to seek a doctor aid
(complaint made against Campbell County pursuant RST§35, USC 7" Amendment)

17. The Campbeli County Jail was filthy, deplorable, with a lot of substance trafficking,
overcrowded (30 inmates and 8 beds), not up to code nor was it safe to be incarcerated there
(complaint made against Campbell County, City of Jacksboro, pursuant TCA1§32, USC 7"
Amendment)

18, The Plaintiff repeatedly asked for a copy of the Tennessee Constitution and copies of the State
Statutes and was denied. (Replies: “That’s not the way it works around here.” “Do you mean the
Tennessee Blue Book.”) and was never informed of the charges made against him (complaint
made against Campbell County pursuant TCA1§9).

19. During the illegal incarceration, Billy Marlow and two other Campbell County Correctional
Officers entered the cell number 3 in full view of several witnesses, while the plaintiff was
complaining of dizziness and fatigue and with unnecessary and extreme rigor assailed the.
plaintiff, through strangulation and hitting his head on the hard surfaces, causing the plaintiff to
be rendered unconscious several times. (complaint made against Billy Marlow and Campbell
County pursuant TCA1§13, TCA1§32, RST§46(1), RTT:GP§12, USC 7" Amendment)

2

of 7
Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 5of 10
PagelD #: <pagelD>
20. Breaches of contract and violations of CST Schedule§3 are apparent when the officers involved
apparently acted without cause, putting the plaintiff's life in danger directly with their rigorous
abuse of the plaintiff while chained and after incarceration. (Complaint made against Darrell
Mongar, Dustin Rose, Billy Marlow, Campbell County pursuant CST Schedule§3)

21. Campbell County Sessions Court repeatedly scheduled court hearings and mental evaluations
simultaneously, causing the plaintiff to miss one or the other while allowing the proceedings to
continue without the plaintiff's presence. Ultimately, these scheduling conflicts were the reason
given for extended evaluation. (complaint made against Campbell County, State of Tennessee
pursuant TCA1§9, USC 6™ Amendment)

22. The plaintiff also had to under go 4 months of subsequent faise imprisonment at the state
hospital for alleged evaluation solely dt the courts request. There he was questioned daily
without representation with a compulsatory process to be confronted with statements from
witnesses that he wasn’t allowed to question or confront, where words were taken out of context
or false statements were made for him for the record, where (complaint made against Campbell
County, State of Tennessee pursuant RST§35, USC 14" Amendment, USC 5" Amendment,
USC 6" Amendment)

23. During the time of evaluation at Lakeshore Mental Health Institute, the plaintiff was forced to
take medication. During that time the plaintiff made several complaints as to the effects, but
was ignored. Upon discharge, the plaintiff found that he was allergic to the medication given
him along with the numerous other unhealthy side effects and was warned by the primary
physician that it was an immediate and dire threat to his life and constitution to take such
medication. (complaint made against the State of Tennessee pursuant RST§322, RTT:GP§12,
USC 7" Amendment )

24. Campbell County Sessions Court (State of Tennéssee) denied numerous requests and demands
made by the plaintiff for Discovery and Inspection, further more the causes and nature of the
accusation against him not being made clear (complaint made against Campbell County, State
of Tennessee pursuant USC 6" amendment, TCA1§9, 390 U.S. 959(1968), Brady v. Maryland,
373 U.S. 83 (1963), 423 U.S. 986 (1975), Gigilo v. United States, 405 U.S. 150 (1972), McCray
v. Illinois, 386 U.S. 300(1967); Roviaro v. United States, 353 U.S. 5 (1957)).

25. Campbell County Sessions Court (State of Tennessee) denied numerous requests and demands
made by the plaintiff for speedy trail (complaint made against Campbell County, State of
Tennessee pursuant USC 6" Amendment, USC 5" Amendment, and Title 28§2902 of the USC).

26. Campbell County Sessions Court (State of Tennessee) denied motion to dismiss due to lack of
speedy trail (complaint made against Campbell County, State of Tennessee pursuant USC 6"
Amendment, USC 5" Amendment, and section 2902 of title 28 of the USC, CSTScheduale§3).

27. Campbell County Session Court (State of Tennessee) joined plaintiffs and cases that the Court
had reason to believe had already been adjudicated and/or dismissed, putting the plaintiff into
‘double jeopardy’ (complaint made against Campbell County, State of Tennessee pursuant USC
5" Amendment), had they had reason not to believe it hadn’t been settled for any reason, actions
for misrepresentation should have been apparent and the cases dismissed.

28. Campbell County Sessions Court did not provide a means to obtain a witness in favor of the
plaintiff though the public defender was made aware of such a witness (complaint made against
Campbell County, State of Tennessee pursuant TCA1§9, USC 6" Amendment)

29. The plaintiff asks for compensation and punitive damages for each complaint made in 6-28.

30. Plaintiff incorporates by reference paragraphs 6-20 as set out above

31. The actions of defendant Deputy Mongar, defendant Deputy Rose in arresting the plaintiff
constitute the state torts of assault and battery, false arrest and imprisonment, malicious
prosecution and outrageous conduct. Defendant Officer Marlow acted in bad faith, with if] will,
malice and spite towards the plaintiff. All these defendants, in concert with other servants of
Campbell County and the State of Tennessee acted with a motive to intentionally harm him, so
as to render these defendants liable to the plaintiff for punitive damages.

32. Plaintiff incorporates by reference paragraphs 20-28 as set out above.

33. The actions of defendant County of Campbell, defendant State of Tennessee duly designated
representatives did willfully, knowingly, intentionally and purposefully violate the plaintiff
Constitutional rights so far as to render these defendants liable for punitive damages.

34. The Plaintiff asks this Court empanel a jury to try this action.

3
of 7

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 6 of 10
PagelD #: <pagelD>
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35. The Plaintiff asks that he be compensated for ongoing medical costs, rehabilitation and
disabilities from irreparable injuries occurting from mistreatment by the defendants, as the
plaintiff was injured with unnecessary and extreme rigor and denied emergency medical
assistance both during arrest and duting incarceration. The plaintiff is now impaired with “post
concussion syndrome” showing itself in lesions within his brain as a result of the defendants
intentional actions. Medical cost are greater than $40,000.00 including the stay at Lakeshore.

36. As a result of these injuries the plaintiff, it is a several doctor’s opinion that the Plaintiff is no
longer employable nor is he able to drive due to resultant seizures, and if the Plaintiff were able
to do so the harm to his reputation is so considerable that finding any employment is unlikely.
The plaintiff's last full time employment was as a programmer, sensifive material background,
with a salary of $65,000 per year. Back pay to the plaintiff since 3/17/2004 is currently at
$65,000 (industry standard with 8 years experience in this area $85,000, $95,000 nationwide)
and front pay over the next 20 years comes to $1,300,000. A total of which $1,365,000 which
the plaintiff asks for reparations as loss of income.

37. As a proximate result of these mumerous and substantial constitutional violations by the
defendants, the plaintiff has endured great pain and suffering from the trauma of these incidents,
harm to his reputation and difficulties arising from a disability due to the injuries caused from
defendants were over a period of time and on different occasions, since no medical aid was
given at the time of the injuries, or between the injuries, compensation falls upon cach of the
upon the plaintiff, the plaintiff asks for an amount $1,000,000 from each the defendants, with
the exceptions of City of Jacksboro being $250,000 and Rick Woodward for $250,000.
(RST§46(1), RST§35, RST§18, TCA1§17, USC Art4§2(1), Art6(2), and 4", 5", 6 7° 14°
Amendments)

38. As the defendants actions, and each of them, were premeditated with reckless regard to clearly
established constitutional rights and since further actions by the defendants were taken
attempted to hide their misdeeds and even to repeat them, and given the numerous actions,
jodgments and settlements made against the defendants for like actions, the plaintiff asks that
the substantial punitive damages against each of the defendants in such an amount guaranteed to
deter each of defendants from such misdeeds in the future (RST§479).

39. The plaintiff asks for the renioval of charges made against him by the officers and the cases that
were joined by the Campbell County Sestion’s Court and records of evaluations at Lakeshore
Mental Health Institute and Ridgeview to be suppressed and expunged.

40. The plaintiff asks the court that the defendants be enjoined from fature violations of this
Plaintiff's and other citizens’ constitutional rights and in this plaintiff's case, an order of
protection against these individual defendants.

41. ‘That the plaintiff have such other, further and general relief to which he may show himself
entitled. :

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coete a Jackson
108 Chapman mn
Jacksboro TN, 37757
(423)494-7163

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Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 7 of 10
PagelD #: <pagelD>
Tennessee Constitution

Article 1. Section 2: Doctrine of nonresistance condemned.

That the government being instituted for the common benefit, the doctrine of non-resistance against
arbitrary power and oppression is absurd, slavish and destructive of the good and happiness of mankind.

Article 1. Section 7: Unreasonable searches and seizures — General warrants.

That the people shall be secure in their persons, houses, papers and possessions, from wnreasonable
searches and seizures; an that general warrants, whereby an officer may be commanded to search suspected
places, without evidence of the fact committed, or to seize any person or persons not named, whose
offences ate hot particularly described and supported by evidence, are dangerous to liberty and ought not to
be granted.

Artigle 1. Section 8: No man to be disturbed but by law.

That no man shall be taken or imprisoned, or disseized of his freehold, liberties or privileges, or outlawed,
or exiled, or in any manner destroyed or deprived of his life, liberty or property, but by the judgment of his
peers or by the law of the land.

Article 1, Section 9: Right of the accused in criminal prosecutions.

That in all criminal prosecutions, the accused has the right to be heard by himself and his counsel; to
demand the nature and cause of the accusation against him, and to have a copy thereof, to meet the
witnesses face to face, to have compulsory process for obtaining witnesses in his favor, and in the
prosecutions by indictment or presentment, a speedy public trail, by an impartial jury of the County in
which the crime shall have been committed, and shall not be compelled to give evidence against himself.

Article 1 Section 13: Treatment after arrest.
That no person arrested and confined in jail shall be treated with unnecessary rigor.

Article 1 Section 17: Open courts — Redress of injuries — Suits against the State.

That all courts shall be open; and every man, for an injury done him in his lands, goods, person or
reputation, shall have remedy by due course of law, and right justice administered with sale, denial, or
delay. Suits may be brought against the State in such manner and in such courts and the Legislature may be
law direct.

Article 1 Section 21; No man’s services or property taken without consent or compensation.
That no man’s particular services shall be demanded, or property taken, or applied to public use, without
consent of his representatives, or without just compensation being made therefore.

Article 1 Section 32: Safe treatment of prisoners.
That the erection of safe and comfortable prisons, the inspection of prisons, and the humane treatment of
prisoners shall be provided for.

Constitution of the State of Tennessee. Schedule: Section 3: Oath of office mandatory.

Every Judge and every officer of the executive department of this State and every Sheriff holding over
under this Constitution, shall, within twenty days after the ratification of this Constitution is proclaimed,
take an oath to support the same, and the failure of any officer to take such oath shall vacate his office.

3
of 7

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 8 of 10
PagelD #: <pagelD>
AMERICAN LAW INSTITUTE
Restatement (Second) of Torts §18: Battery: Offensive Contact
(1) An actor is subject to liability to another for battery if
(a) he acts intending to cause a harmful or offensive conduct with the person of the
other or a third person, or an imminent apprehension of such a contact , and
(b) an offensive contact with the person of the other directly or indirectly results.

Restatement (Second) of Torts §21: Assault
(1) An actor is subject to liability to another for assault if
(a) he acts intending to cause a harmful or offensive contact with the person of the other
or a third person, or an imminent apprehension of such a contact, and
(b) the other is thereby put in such imminent apprehension

Restatement (Second) of Torts §46: Outrageous conduct causing severe emotional distress
(1) One who by extreme and outrageous conduct intentionally or recklessly causes severe
emotional distress to another is subject o liability for such emotional distress, and if bodily
harm to the other results from it, for such bodily harm.
(2) Where such conduct is directed at a third person, the actor is subject to liability if he
intentionally or recklessly causes severe emotional distress

Restatement (Second) of Torts § 315. General Principle
There is no duty so to control the conduct of a third person as to prevent him from causing physical harm to
another unless
(a) a special relationship exist between the actor and the third person which imposes a duty upon
the actor to control the third personi’s conduct, or
(b) a special relationship exists between the actor and the other which gives the other a right to
protection.

Restatement (Second) of Torts § 322: Duty to Aid Another Harmed by Acter’s Conduct

If the actor knows or has reason to know that by his conduct, whether tortuous or innocent, he has caused
such bodily harm to another as to make him helpless and in danger of further harm, the actor is under a
duty to exercise reasonable care to prevent such further harm.

Restatement (Second) of Torts § 479: Last Clear Chance: Helpless Plaintiff
A plaintiff who has negligently subjected himself to a risk of harm from the defendant’s subsequent
negligence may recover for harm caused thereby it, immediately preceding the harm,
(a) the plaintiff is unable to avoid it by the exercise of reasonable vigilance and care, and
(b) the defendant is negligent in failing to utilize with reasonable care and competence his then
existing opportunity to avoid the harm, when he
(i) knows of the plaintiff's situation and realizes or has reason to realize the peril
involved in it or
(ii) would discover the situation and thus have reason to realize the peril, if he were to
exercise the vigilance which it is then his duty to the plaintiff to exercise.

Restatement (Third) of Torts §1: Intent.

A person intentionally causes harm if the person brings about that harm either purposefully or knowingly.
(1) Purpose. A person purposefully causes harm if the person acts with the desire to bring about
that harm.

(2) Knowledge. A person knowingly causes harm if the person engaged in action knowing that
harm is substantially certain to occur.

Restatement (Third) of Terts: General Principles §12 Statutory Violations as Negligence Per Se
An actor is negligent if, without excuse, the actor violates a statute that is designed to protect against the
type of accident the actor’s conduct causes, and if the accident victim is within the class of persons the
statue is designed to protect.

6
of 7

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 9 of 10
PagelD #: <pagelD>
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Other Orders/Judgments
3:04-cv-00344 Jackson v. State of Tennessee et al.

US, District Court (Live Database)
Eastern District of Tennessee
Notice of Electronic Filing

The following transaction was received from DHJ, entered on 4/6/2005 at 10:48 AM EDT and filed on
4/6/2005 ©

~ Case Name: Jackson v. State of Tennessee et al
Case Number: 3:04-cv-344
Filer:
Document Number: 34
Docket Text:

ORDER that the court will treat pla's "Complaint for Violations of Constitutional Rights (Second
Amendment)" as a motion to amend which is hereby granted. The Clerk is directed to enter the pla's motion
to amend and grant such motion. Defts will have 20 days from entry of this order to respond to pla's second
amended complaint. Signed by Judge Thomas A Varlan on 4/6/05. (DHJ)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a

Electronic document Stamp:

[STAMP dcecfStamp_ID=1062680380 [Date=4/6/2005] [FileNumber=261697-0]
[b4£5da56ff27bc765 1bc6b245 1 5c4d8d5696d7a086038ab9dabb132ebb90f26f64e61
9ef69d634ba9df7aa038e7 1 £4009b0654 10706 1f7d0acb0e7c051e32c26]]}

F

3:04-cv-344 Notice will be electronically mailed to:

John C Duffy jduffy@watsonhollow.com, rtatham @watsonhollow.com

Benjamin K Lauderback blauderback@watsonhollow.com, kmeacham@watsonhollow.com
Sarah C McBride _— sarah.mcbride @state.tn.us,

3:04-cv-344 Notice will be delivered by other means to:

Rustin G Jackson

108 Chapman Lane
Jacksboro, TN 37757

Case 3:04-cv-00344-TAV-CCS Document 48-1 Filed 07/11/05 Page 10 of 10
PagelD #: <pagelD>
